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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY



 UNITED STATES OF AMERICA, et al.,                    Civil Action No. 19-cv-12107-MEF-SDA
 ex rel. ZACHARY SILBERSHER,

                               Plaintiffs,                 SPECIAL MASTER ORDER
 v.

 JANSSEN BIOTECH, INC., et al.,

                               Defendants.



       THIS MATTER having come before the undersigned Special Master appointed by Order

entered on March 18, 2024 (ECF No. 331); and the Order providing that the Special Master “shall

oversee the schedule for completion of discovery, and all discovery disputes and motions related

thereto, pursuant to procedures for practice that the Special Master may establish and modify as

necessary”, id. at 2, ¶ 2; and Relator Zachary Silbersher (“Relator”) having filed a Motion for In

Camera Review of Documents Not Subject to Privilege Pursuant to the Crime-Fraud Exception

on May 3, 2024 (“Motion for In Camera Review”) (ECF No. 345); and Defendants Janssen

Biotech, Inc., Janssen Oncology, Inc., Janssen Research & Development, LLC, and Johnson &

Johnson (collectively, “Defendants”, and together with Relator, “Parties”) having filed opposition

to the Motion for In Camera Review on May 24, 2024 (ECF No. 354); and Relator having filed a

reply in further support of the Motion for In Camera Review on June 10, 2024 (ECF No. 363);

and the Special Master having denied the Motion for In Camera Review by Order of October 4,

2024 (“Special Master Order”) (ECF No. 374); and Relator having filed Objections (“Relator’s

Objections”) to the Special Master Order on October 25, 2024 (ECF No. 393); and Relator’s

Objections having narrowed the 900 documents at issue in the Motion for In Camera Review to

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50 documents which were identified for “priority review”; and Defendants having filed opposition

to Relator’s Objections on November 19, 2024 (ECF No. 413); and the Court having entered an

Order of December 10, 2024 directing the Special Master to “conduct an in camera review of the

50 documents designated by the Relator for priority review to determine whether the crime-fraud

exception applies” as well as “whether the remaining documents need to be reviewed and whether

[the Special Master Order] stands” (ECF No. 417, p. 2); and the Special Master having conducted

an in camera review of the 50 priority documents; and the Special Master having considered the

issues, arguments and positions with respect to Relator’s Objections and all related submissions;

and good cause appearing for the entry of this Order

                 IT IS on this 31st day of January 2025 ORDERED as follows:

       1.      With respect to the 50 priority documents designated by Relator for in camera

review, the Special Master finds no evidence that the crime-fraud exception applies. Based on this

determination, the Special Master finds that the remaining, non-priority documents previously

identified by Relator need not be reviewed in camera. Accordingly, the Special Master Order

(ECF No. 374) stands.

                                SPECIAL MASTER DECISION

       The Special Master presumes counsel and the Parties are well acquainted with the pertinent

facts and procedural history of this matter.

       Pursuant to directives from the Court (ECF No. 417), the Special Master conducted an in

camera review of the 50 priority documents identified by Relator. 1 Based on the Special Master’s



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  “Once the documents are before the court for in camera review, the party invoking the crime-
fraud exception must make ‘a prima facie showing that (1) the client was committing or intending
to commit a fraud or crime and (2) the attorney-client communications were in furtherance of that
alleged crime or fraud.’” In re Neurontin Antitrust Litigation, 801 F.Supp.2d 304, 307 (D.N.J.
2011) (quoting In re Grand Jury Subpoena, 223 F.3d 213, 217 (3d Cir. 2000)). It is “[the] client’s
                                                2
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careful review of those documents, the Special Master finds no evidence that Defendants were

engaged in, committing or intending to commit a fraud or crime, or that Defendants’ attorney-

client communications were being misused in furtherance of any fraud or crime. Insofar as the

crime-fraud exception is inapplicable as to the 50 priority documents, the Special Master discerns

no basis to conduct any further review of the larger body of documents previously identified by

Relator for in camera review.

                                        CONCLUSION

       For the reasons set forth above, the Special Master Order (ECF No. 374) stands.



       IT IS SO ORDERED.



Dated: January 31, 2025                                            s/ Douglas E. Arpert
                                                                   DOUGLAS E. ARPERT
                                                                   SPECIAL MASTER




intentional ‘misuse [of] [an] attorney’s advice in furtherance of’ ‘wrongdoing’ undertaken for an
‘improper purpose,’ [that] triggers the crime-fraud exception. In re Abbott Laboratories, 96 F.4th
371, 380 (3d Cir. 2024) (quoting In re Grand Jury, 705 F.3d 133, 151, 157 (3d. Cir. 2012)).
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